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                 MDL 2179 Transfer Order and Conditional Transfer Order Status

Order Number          Date Issued      Number of         Status of Order      Notes
                                       Cases Included

1                     8/24/10          26 cases          Became final on      Includes cases
                                       conditionally     9/8/10               from N. Cal., S.
                                       transferred                            Fla., N. Ga., S.
                                                                              Ga., E. Ky., W.
                                                                              Ky, , M. La., W.
                                                                              La, E. Tenn., M.
                                                                              Tenn., and E.
                                                                              Va.

2                     8/31/10          45 cases          Order became         Includes cases
                                       conditionally     final as to 44       from M. Fla., N.
                                       transferred       cases on             Fla., S. Fla., E.
                                                         September 14,        Tex., S. Tex.,
                                                         2010. Order          and E. Va.
                                                         final as to 1 case
                                                         on 11/30/2010.

3                     9/2/10           33 cases          Order became         Includes cases
                                       conditionally     final as to 31       from S. Tex.
                                       transferred       cases on
                                                         September 16,
                                                         2010. Order
                                                         became final as
                                                         to 2 cases on
                                                         11/30/2010.

4                     9/8/10           38 cases          Became final on      Includes cases
                                       conditionally     9/22/2010            from M. Ala., S.
                                       transferred                            Ala., S. Miss., D.
                                                                              S.C., and E. Tex.

5                     10/27/10         58 cases          Order became         Includes cases
                                       conditionally     final as to 51       from M. Ala., S.
                                       transferred       cases on             Ala., Del., N.
                                                         November 4,          Fla., S. Fla., S.
                                                         2010. Order          Ind., W. La., S.
                                                         final as to          Miss., S. Tex.,
                                                         remaining seven      W. Tex. and E.
                                                         cases by             Va.
                                                         February 8,



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                                                2011.

6                11/10/10       4 cases         Order became        Includes cases
                                conditionally   final as to three   from N. Fla., S.
                                transferred     cases on            Fla. and S. Tex.
                                                November 17,
                                                2010. Order
                                                became final as
                                                to one case on
                                                February 7,
                                                2011.

7                11/30/10       7 cases         One case            Includes cases
                                conditionally   voluntarily         from N. Fla., W.
                                transferred     dismissed before    La., N. Miss. and
                                                CTO became          S. Tex.
                                                final and
                                                therefore not
                                                transferred.
                                                Order became
                                                final as to four
                                                cases on
                                                December 8,
                                                2010. Order
                                                became final as
                                                to two cases on
                                                February 7,
                                                2011.

8                12/21/10       1 case          Order became        S.D. Ala.
                                conditionally   final on 2/7/11
                                transferred

9                1/20/11        4 cases         One objection       S.D. Tex.
                                conditionally   was filed,
                                transferred     staying the order
                                                as to that case.
                                                Order became
                                                final as to all
                                                remaining cases
                                                on January 27,
                                                2011.

10               1/31/11        1 case          Order became        S.D. Tex.
                                conditionally   final on 2/6/11.


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                                transferred

11               2/2/11         1 case          Order became       S.D. Tex.
                                conditionally   final on 2/9/11.
                                transferred

12               2/15/11        1 case          Order will         S.D. Tex.
                                conditionally   become final on
                                transferred.    2/22/11, absent
                                                objection.




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